 Case 1:23-cv-00101-JPB Document 18 Filed 12/18/23 Page 1 of 5 PageID #: 862



                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Wheeling


RAEQUAN BATTLE,

                      Plaintiff,

              v.                                        CIVIL ACTION NO. I :23-CV-1 01
                                                        Judge Bailey

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION,

                      Defendant.


                       FIRST ORDER AND NOTICE REGARDING
                    DISCOVERY AND SCHEDULING CONFERENCE

       Pursuant to Fed. R. Civ. P. 16(b) and 26(f) and Local Rule of Civil Procedure (“L.R.

Civ. P.”) 16.01 and 26.01, it is hereby ORDERED that:

1. Initial Planning Meeting                      3. Initial Disclosures
   On or before: January 15, 2024                   On or before: February 12, 2024

2. Meeting Report                                4. Scheduling Conference:
   On or before: January 29, 2024                   If necessary


       (1) Initial Planning Meeting: Pursuant to Fed. R. Civ. P. 16 and 26(f) and L.R. Civ.

P. 16.01(b), parties to this action shall meet in person or by telephone on or before

January 15, 2024. At this meeting, the parties shall discuss all matters required by Fed.

R. Civ. P. 16 and 26(f) and L.R. Civ. P. 16.01(b).

       (2) Meeting Report and Proposed Discovery Plan: Pursuant to Fed. R. Civ. P.

26(f) and L.R. Civ. P. 16.01(c), the parties shall submit to this Court a written report on


                                             1
 Case 1:23-cv-00101-JPB Document 18 Filed 12/18/23 Page 2 of 5 PageID #: 863



the results of the initial discovery meeting and a completed Scheduling Order Checklist

(see attached) on or before January 29,2024. The written report shall include the parties’

reporton those matters setforth in L.R. Civ. P. 16.01(b)(1-5) and 16.01(c) and the parties’

discovery plan as required by Fed. R. Civ. P. 26(f). The parties’ report on their meeting

shall be considered by this Court as advisory only. Parties and counsel are subject to

sanctions as setforth in Fed. R. Civ. P. 16(f) and L.R. Civ. P. 37.01 forfailureto participate

in good faith in the development and submission of a meeting report and proposed

discovery plan.

       (3) Initial Discovery Disclosures: Pursuant to Fed. R. Civ. P. 26(a)(1 )and L.R. Civ.

P. 26.01(a), each party shall provide to every other party the initial discovery disclosures

required under Fed. R. Civ. P. 26(a)(1) on or before February 12, 2024.

       (4) Telephonic Scheduling Conference: Upon receipt of the meeting report and

proposed discovery plan, this Court may conduct a scheduling conference at a date and

time deemed appropriate. See Fed. R. Civ. P. 16(b) and L.R. Civ. P. 16.01(d). However,

if this Court determines, after a review of the meeting report and proposed discovery plan,

that a scheduling conference is not necessary, no conference will be scheduled and a

scheduling orderwill be entered. See Fed. R. Civ. P. 16(b) and L.R. Civ. P. 16.01(d).

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein,

along with copies of this Court’s Scheduling Order Checklist.

       DATED: December 18, 2023.




                                              2
Case 1:23-cv-00101-JPB Document 18 Filed 12/18/23 Page 3 of 5 PageID #: 864



                                        JOHN PRESTON BAILEY
                                        UNITED STATES DISTRICT JUDGE




                                    3
 Case 1:23-cv-00101-JPB Document 18 Filed 12/18/23 Page 4 of 5 PageID #: 865



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



Plaintiff(s),

V.
                                                  Civil Action No.

Defendant(s).

                       SCHEDULING ORDER CHECKLIST

                                      ATTORNEYS

1. INTERMEDIATE PRETRIAL CONFERENCE



2. MEDIATION             Before   -     _____




3. JOINDER AND AMENDMENTS               _____




4. EXPERT DISCLOSURE

                   a. With Burden       ______




                   b. Without Burden    _______




5. EXAMINATION/INSPECTIONS


6. DISCOVERY COMPLETION


7. DISPOSITIVE MOTIONS

                                                         Responses

                                                         _____   Replies




                                          4
 Case 1:23-cv-00101-JPB Document 18 Filed 12/18/23 Page 5 of 5 PageID #: 866




8. PRETRIAL DISCLOSURES, FED R. CIV PRO 26(a) 3



                    a. Objections       _________________




9. JURY INSTRUCTIONS, VOIR DIRE and VERDICT FORMS



                    a. Objections              ___________




10. MOTIONS IN LIMINE                   _____________




                    a. Objections       _________________




11. BIOGRAPHICAL SKETCHES                      _________




12. JOINT FINAL PRETRIAL CONFERENCE ORDER



13. FINAL PRETRIAL CONFERENCE           __________




14. Trial                               ____________




       (If non-jury trial, Proposed Findings of Fact
       and Conclusions of Law are to be filed with Court
       and opposing counsel  ________________)




                                           5
